






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN







NO. 03-02-00475-CV






Hays County, Texas, Appellant


v.


Hays County Water Planning Partnership, Appellee







FROM THE DISTRICT COURT OF HAYS COUNTY, 274TH JUDICIAL DISTRICT

NO. 2000-0688, HONORABLE DON MORGAN, JUDGE PRESIDING





O P I N I O N




	Appellant Hays County appeals a district-court judgment granting appellee Hays
County Water Planning Partnership (the "Partnership") an injunction and attorney's fees against the
county.  The district court found that Hays County violated:  (1) sections 551.002 and 551.102 of the
Texas Government Code (the "Open Meetings Act") and (2) provisions of the Texas Constitution,
and the Texas Local Government Code.  Tex. Const. art. I, § 13; art. V, § 18; Tex. Gov't Code Ann.
§§ 551.002, .102 (West 1994); Tex. Loc. Gov't Code Ann. § 81.006(a) (West 1999).  We will affirm
in part and reverse and render in part.


BACKGROUND


	The present dispute began on May 16, 2000, when the Hays County Commissioners
Court met and voted to approve the 2025 Transportation Plan for submission to the Capital Area
Metropolitan Planning Organization ("CAMPO").  CAMPO coordinates transportation planning and
approves the use of federal transportation funds for a large area of Central Texas in and around the
Austin area, including Hays County.  The plan contained the county's recommendations for future
roadways within its borders.  The Partnership asserts that the county commissioners altered the plan
that was approved at the May 16 meeting by making several significant changes to it, resulting in
the county's submission to CAMPO of a substantially different plan from that adopted at the
meeting.  Hays County rejoins that any alterations to the plan were made lawfully during the meeting
and that, after the meeting, a single commissioner, Commissioner Burnett, delivered the appropriate
map to CAMPO. (1)  The county also urges that any problems with the map were corrected at a later
meeting.

	On May 25, the Partnership sued Hays County, alleging that the commissioners court
had violated the Open Meetings Act by privately altering the plan.  See Tex. Gov't Code Ann.
§§&nbsp;551.002, .102.  The Partnership later amended its pleadings to allege violations of the Texas
Constitution and the Texas Local Government Code.  Tex. Const. art. I , § 13; art. V, § 18; Tex. Loc.
Gov't Code Ann. § 81.006(a).  The Partnership sought, inter alia, a judgment declaring that Hays
County "violated the Texas Open Meetings Act, the Texas Constitution, and/or Texas statutory law."
See Tex. Civ. Prac. &amp; Rem. Code Ann. §§ 37.001-.011 (West 1997 &amp; Supp. 2003).  On May 30, the
commissioners court met again.  The commissioners heard public testimony and concluded the
meeting by formally approving an altered version of the plan that Commissioner Burnett had
originally delivered to CAMPO.  The plan adopted at the May 30 meeting replaced the earlier plan
and is now on file with CAMPO.

	The series of plans that is the subject of this appeal has created a controversy since
the county began devising a transportation plan.  The commissioners court first contracted with a
private company, Prime Strategies, to develop a proposed plan.  After much heated community
debate over the Prime Strategies plan, Commissioner Burnett suggested that a coalition of
community members develop a new plan.  The commissioners then formed the "Blue Ribbon
Committee."  The Blue Ribbon Committee's plan was proposed at the May 16 meeting.  Community
members repeatedly remarked during the meeting that they were unhappy about the plan's proposed
extension of what is now Ruby Ranch Road (a neighborhood road) to FM 150.  The plan would
make Ruby Ranch Road the only connection between two highways (FM 967 and FM 150) and
would necessarily increase traffic on the road.  The proposed extension was indicated on the Blue
Ribbon Committee's map by a red dotted line.

	Several of the commissioners voiced similar concerns during the meeting.  According
to the meeting's official minutes, "Commissioner Carter spoke of it being clear that we cannot go
through the subdivision and we need to remove Ruby Ranch Road from the priority matrix and let
it remain a neighborhood road."  Commissioner Burnett "agreed that it does not make sense to put
a major highway through an existing subdivision."  He then made a motion to "adopt the Blue
Ribbon Committee's plan as proposed with the following changes:  that the Ruby Ranch Road be
eliminated as a major arterial status and be returned back to the original status . . . ."

	After the meeting, a Hays County staff member placed what he believed to be the
changes that the commissioners adopted on May 16 on a map for Commissioner Burnett to deliver
to CAMPO.  When Commissioner Burnett saw the revisions, he noted that the dotted lines that were
on the Blue Ribbon Committee's plan had been removed, leaving Ruby Ranch Road unchanged from
its current configuration.  Commissioner Burnett instructed the staff member to mark Ruby Ranch
Road in red and replace the dotted lines connecting it to FM 150.  The new map prepared by the staff
member had other changes from the Blue Ribbon Committee's original plan as well; however, only
the Ruby Ranch Road change is at issue.

	Hays County asserts that Commissioner Burnett's change was merely a matter of
interpretation--that there was confusion at the May 16 meeting about what the commissioners
meant, and that Commissioner Burnett interpreted the May 16 meeting in an appropriate way. 
Specifically, the county argues that when Commissioner Burnett moved to "return [Ruby Ranch
Road] to its original status," he understood his statement to mean to return that road to the way it is
depicted in the plan devised by Prime Strategies.  The Prime Strategies map shows that Ruby Ranch
Road will be widened to a four-lane road and will eventually connect to FM 150.  The record,
however, leads this Court to conclude that the change made by Commissioner Burnett is an incorrect
interpretation of the commissioners' May 16 action.


STANDARDS OF REVIEW


	As to the Partnership's Open Meetings Act claim, this Court conducts a de novo
review, because the issue of whether the Open Meetings Act applies to the case at hand is a legal
question; construction of a statute is reviewed de novo.  In re E.I. du Pont de Nemours &amp; Co., 92
S.W.3d 517, 522 (Tex. 2002).

	We will apply a different standard to the Partnership's constitutional and local
government code claims.  The Texas Constitution establishes the commissioners court as the
county's principal governing body.  Tex. Const. art. V, § 18.  The powers and duties of the
commissioners court include aspects of legislative, executive, administrative, and judicial functions. 
Ector County v. Stringer, 843 S.W.2d 477, 478 (Tex. 1992).  The constitution vests appellate
jurisdiction and general supervisory control over a county commissioners court with the district
court, subject to such exceptions and regulations as the law may prescribe.  Tex. Const. art. V, § 8. 

	A party can invoke the district court's constitutional advisory control over a
commissioners court's action only when the commissioners court exceeds its jurisdiction or clearly
abuses the discretion conferred upon it by law.  Stringer, 843 S.W.2d at 479 (citing Tarrant County
v. Shannon, 104 S.W.2d 4, 9 (Tex. 1937)).  The district court may also determine whether the
commissioners court acted illegally or unreasonably.  Id. at 478 (citing Lewis v. City of Fort Worth,
89 S.W.2d 975, 978 (Tex. 1936)).  However, in reviewing a commissioners court's action for abuse
of discretion, the district court may not substitute its own judgment and discretion for that of the
commissioners court.  Id.  By arguing that the district court erroneously found that the
commissioners court's action was unreasonable, Hays County necessarily argues that the
commissioners court's actions were reasonable and within its discretion.  Thus, the real question
before us is whether the district court erred in finding that the commissioners court abused its
discretion--put plainly, whether the Hays County Commissioners Court abused its discretion or
otherwise acted illegally when it presented the "staff altered" map to CAMPO.  See Vondy v.
Commissioners Court, 714 S.W.2d 417, 420 (Tex. App.--San Antonio 1986, writ ref'd n.r.e.).

	This Court's review of the actions of the Hays County Commissioners Court will
focus on the commissioners court's official minutes, because the commissioners court "speaks
through its official minutes."  Maples v. Henderson County, 259 S.W.2d 264, 268 (Tex. Civ.
App.--Dallas 1953, writ ref'd n.r.e.); see also Gano v. Palo Pinto County, 8 S.W. 634, 635 (Tex.
1888).  Thus, the crux of our review hinges on the May 16 commissioners-court meeting and
whether reasonable minds could have interpreted the minutes in a manner consistent with the "staff
altered" map that Commissioner Burnett delivered to CAMPO.


DISCUSSION


	On appeal, Hays County argues that the district court:  (1) erred in finding that the
Hays County Commissioners Court violated the Open Meetings Act; (2) erred in finding that the
Hays County Commissioners Court violated the Texas Constitution and the Texas Local
Government Code; (3) erred in failing to dismiss the action for lack of subject-matter jurisdiction;
(4) erred in failing to dismiss the action on grounds of "sovereign and/or legislative immunity"; and
(5) abused his discretion in awarding attorney's fees.


Open Meetings Act 

	By its first issue, Hays County asserts that the district court erred in finding that the
Hays County Commissioners Court violated the Open Meetings Act.  See Tex. Gov't Code Ann.
§§&nbsp;551.002, .102.  The Act provides:  "[E]very regular, special, or called meeting of a governmental
body shall be open to the public, except as provided by this chapter," id. § 551.002, and "a final
action, decision, or vote on a matter deliberated in a closed meeting . . . may only be made in an open
meeting that is held in compliance with the notice provisions of this chapter," id. § 551.102.  The
Open Meetings Act defines a meeting as:


(A) a deliberation between a quorum of a governmental body, or between a quorum
of a governmental body and another person, during which public business or public
policy over which the governmental body has supervision or control is discussed or
considered or during which the governmental body takes formal action; or (B) except
as otherwise provided by this subdivision, a gathering: 


  (i)	that is conducted by the governmental body or for which the governmental body
is responsible; 


 (ii)	at which a quorum of members of the governmental body is present; 


(iii)	that has been called by the governmental body; and 


(iv)	at which the members receive information from, give information to, ask
questions of or receive questions from a third person, including an employee of
the governmental body, about the public business or public policy over which
the governmental body has supervision or control . . . . 



Id. § 551.001(4). 

	"Governmental body" includes "a county commissioners court in the state."  Id. 
§&nbsp;551.001(3)(B).  "Quorum" means "a majority of a governmental body, unless defined differently
by applicable law or the charter of the governmental body."  Id. § 551.001(6).  The Texas Local
Government Code states that three members of the commissioners court constitutes a quorum for
conducting county business except for the levying of a county tax.  Tex. Loc. Gov't Code Ann.
§&nbsp;81.006.

	The parties do not dispute that the May16 meeting was duly called and properly
noticed as required by the Open Meetings Act.  See Tex. Gov't Code Ann. § 551.041 (West 1994). 
They also agree that a quorum was present at the May 16 meeting and the vote on that date was taken
in open session, as required by the act.  Id. § 551.102. 

	The Partnership alleges that a single commissioner and an employee altered the May
16 Blue Ribbon Committee's map in a manner not in accordance with the May 16 commissioners-court action and that Commissioner Burnett delivered the improperly "staff altered" map to CAMPO. 
However, the interaction of Commissioner Burnett and the Hays County employee was not a
"meeting" because a quorum of commissioners was not present.  In order for there to have been a
violation of the Open Meetings Act, a meeting must have occurred.  Id. §§ 551.002, .102.  We
decline to hold that the action of a single commissioner constitutes a violation of the Open Meetings
Act and, therefore, sustain Hays County's first issue.


Subject-Matter Jurisdiction

	By its third issue, Hays County asserts that the Partnership's action lacks subject-matter jurisdiction because:  (1) the Partnership lacks standing; (2) there is no justiciable
controversy; and (3) the Partnership failed to show harm entitling it to injunctive relief.  Because
subject-matter jurisdiction is a question of law, we review the issue de novo.  Mayhew v. Town of
Sunnyvale, 964 S.W.2d 922, 928 (Tex. 1998).  This Court has previously held the Partnership does
have standing in this controversy.  See Hays County v. Hays County Water Planning P'ship, 69
S.W.3d 253 (Tex. App.--Austin 2002, no pet.).  However, our earlier decision considered standing
with regard to the Open Meetings Act. (2)  Because we have held that Hays County did not violate the
Open Meetings Act, we must address the standing issue anew to determine if the Partnership has
standing under the Texas Constitution or the Texas Local Government Code.  See Tex. Const. art.
I, § 13; art. V, § 18; Tex. Loc. Gov't Code Ann. § 81.006(a).

	The Texas Supreme Court, in Texas Ass'n of Business v. Texas Air Control Board,
set forth a three-prong "associational standing test" to determine whether an organization has
standing to file suit:  (1) "its members have standing to sue in their own behalf"; (2) "the interests
[the organization] seeks to protect are germane to the organization's purpose"; and (3) "neither the
claim nor the relief requested requires the participation of individual members in the lawsuit."  852
S.W.2d 440, 447-48 (Tex. 1993). 

	To satisfy the test's first prong, the Partnership must allege that its members, or any
one of them, are suffering immediate or threatened injury as a result of the challenged action of the
kind that would make a justiciable case if the members had brought suit in their own right.  Texas
Workers' Comp. Comm'n v. Garcia, 862 S.W.2d 61, 71 (Tex. App.--San Antonio 1993), rev'd on
other grounds, 893 S.W.2d 504 (Tex. 1995).  A substantial risk of injury is sufficient.  Id.  The
evidence in the record indicates that the Partnership is a community group whose members all live
or own property in the area covered by the transportation plan.  Testimony further indicates that even
though the plan is prospective and not immediately effective, the published intention for future
roadway development in the area does cause property-owner members of the Partnership potential
and immediate economic loss with regard to their property values.  Because the Partnership has
demonstrated that its members could sue in their own right, it satisfies the first prong of the
associational standing test.

	As to the test's second prong, the evidence shows that the Partnership was created
to deal specifically with these kinds of community issues, i.e., "How things are developed in Hays
County."  Thus the interests that the Partnership seeks to protect through its lawsuit are germane to
its organizational purpose.  The second prong is satisfied.

	Because the Partnership sought a declaratory judgment, it need not prove the
individual circumstances of its members to obtain this relief, and it can be reasonably ascertained
that the injunction imposed by the district court will benefit those members of the Partnership
actually injured.  See Texas Ass'n of Bus., 852 S.W.2d at 448.  The Partnership thereby meets the
third and final prong of the test.  We hold that the Partnership has standing to bring this action.

	Hays County also asserts that the district court lacked subject-matter jurisdiction in
this case because there is no justiciable controversy.  It insists that the commissioners court's
transportation plan is only a suggestion that CAMPO may or may not accept and that regardless of
whether the May 16 "staff altered" map was indeed the map voted on in the May 16 meeting, any
possible injury caused by that mistake was "cured" when the May 30 map was adopted by the
commissioners court.

	The separation-of-powers doctrine prohibits courts from issuing advisory opinions.
Id. at 444.  The distinct feature of an advisory opinion is that it decides an abstract question of law
without binding the parties.  Alabama State Fed'n of Labor v. McAdory, 325 U.S. 450, 461 (1945);
Texas Ass'n of Bus., 852 S.W.2d at 444.  In order to ensure that courts do not issue advisory
opinions, there must be a justiciable controversy.  When seeking a declaratory judgment, the plaintiff
must allege facts that demonstrate a real dispute involving an immediate, concrete outcome--that
is, a justiciable controversy must exist as to the rights and status of the parties and the controversy
must be resolved by the declaration sought.  Bonham State Bank v. Beadle, 907 S.W.2d 465, 467
(Tex. 1995).  In this case, the Partnership sued Hays County, alleging that the Hays County
Commissioners Court violated the constitution, the government code, and the local government code
by submitting an invalid plan to CAMPO.  The district court remedied that injury by enjoining the
Hays County Commissioners Court from ever using the invalid plan.  A specific injury was remedied
by a specific order.  We hold that there is a justiciable controversy in this case.

	Finally, Hays County asserts that the Partnership has failed to show harm that would
entitle it to injunctive relief.  Although the Texas Supreme Court has stated:  "District courts, under
our constitution, do not give advice or decide cases upon speculative, hypothetical, or contingent
situations," we do not view the facts before us presenting as a hypothetical situation.  Cf. Camarena
v. Texas Employment Comm'n, 754 S.W.2d 149, 151 (Tex. 1988) (holding that there was no subject-matter jurisdiction because legislature passed legislation that ameliorated plaintiffs' harm and
thereby made injunction moot).  The Partnership sued Hays County alleging that the Hays County
Commissioners Court submitted an invalid plan to CAMPO.  The action was brought, in part, under
the Uniform Declaratory Judgments Act ("UDJA").  Tex. Civ. Prac. &amp; Rem. Code Ann. § 37.009
(West 1997).  The UDJA allows for injunctive relief ancillary to a declaration of rights in some
situations:  "Further relief based on declaratory judgment or decree may be granted whenever
necessary or proper. . . ."  Id. § 37.011 (West 1997).  Although the commissioners court has since
adopted a new plan and has filed that plan with CAMPO, its action does not moot the Partnership's
declaratory-judgment action nor its ancillary claim for injunctive relief.  We overrule Hays County's
third issue. 


Sovereign and Legislative Immunity

	By its fourth issue, Hays County asserts that the district court should have dismissed
the Partnership's action because the Hays County Commissioners Court is protected by sovereign
and legislative immunity.  Although this Court has previously visited these issues, we dealt only with
the Partnership's Open Meetings Act claim.  See Hays County, 69 S.W.3d at 253.  We have today
rejected that claim, and thus review the county's assertions with regard to the Partnership's other
claims.

	The State of Texas, its agencies and its officials are generally immune from a lawsuit
for damages unless the legislature expressly waives that immunity, typically through statute or
legislative resolution.  Federal Sign v. Texas S. Univ., 951 S.W.2d 401, 405 (Tex. 1997).  However,
the Partnership sued Hays County, in part, under the UDJA.  The UDJA grants any litigant whose
rights are affected by a statute, or as in this case the violation of the statute,  the opportunity to obtain
a declaration of those rights under the statute.  Therefore, when the State is a necessary party to a
UDJA action for a declaration of rights, sovereign immunity is expressly waived because, were the
State not joined, the right to a declaration would have no practical effect.  See City of La Porte v.
Barfield, 898 S.W.2d 288, 297 (Tex. 1995).  The UDJA applies when a commissioners court is
alleged to have taken an illegal action.  See Commissioners Court v. Agan, 940 S.W.2d 77, 79 (Tex.
1997) (county treasurer brought declaratory-judgment action against commissioners court and county
auditor to challenge commissioners court's decision to assign payroll functions to auditor).  Thus,
when a party brings a declaratory-judgment action to determine whether a commissioners court has
acted illegally, immunity from suit is waived by the UDJA.  The UDJA provides:  "Further relief
based on a declaratory judgment or decree may be granted whenever necessary or proper . . . ."  Tex.
Civ. Prac. &amp; Rem. Code Ann. § 37.011.  The UDJA potentially waives sovereign immunity when
a party seeks the ancillary relief of an injunction with a declaration.  See Texas Educ. Agency v.
Leeper, 893 S.W.2d 432, 446 (Tex. 1994).  As applied to the instant case, the Partnership brought
suit against Hays County seeking declaratory and injunctive relief based on allegations of the
commissioners court's acting outside its authority, specifically by violating the Texas Constitution,
and the Texas Local Government Code.  Tex. Const. art. I, § 13; art. V, § 18; Tex. Loc. Gov't Code
Ann. § 81.006(a).  The legislature has, through the UDJA, waived sovereign immunity for such an
action.  See Leeper, 893 S.W.2d at 446.

	Legislative immunity protects individuals from personal liability for actions
performed in their legislative capacity.  In re Perry, 60 S.W.3d 857, 860 (Tex. 2001).  The purpose
of legislative immunity is to prevent lawsuits from interfering with the legislative process.  See
Supreme Court v. Consumers Union of the United States, Inc., 446 U.S. 719, 731 (1980).  Courts
have extended the legislative-immunity doctrine to cover not only state and federal legislators, but
also "other individuals performing legitimate legislative functions."  Perry, 60 S.W.3d at 860.  The
commissioners court necessarily performs legislative-type actions as part of its official duties. 
Stringer, 843 S.W.2d at 478.  This would seem to indicate that the Partnership's case is barred by
legislative immunity; however, the Partnership sued neither the individual commissioners nor the
Hays County Commissioners Court.  The Partnership brought suit only against the county itself. 
Although legislative immunity protects the individual commissioners from personal liability, the
county does not share the commissioners' immunity.  See Merrill v. Carpenter, 867 S.W.2d 65, 68
(Tex. App.--Fort Worth 1993, writ denied).  We hold that the Partnership's suit against Hays
County is not barred by either sovereign or legislative immunity.  We overrule Hays County's fourth
issue.


Constitutional and Local Government Code Violations

	By its second issue, Hays County asserts that the district court erred when it found
that Hays County had violated the Texas Constitution and the Texas Local Government Code.  Tex.
Const. art. I, § 13; art. V, § 18; Tex. Loc. Gov't Code Ann. § 81.006(a).

	Article I, section 13 of the Texas Constitution provides:  "All courts shall be open,
and every person for an injury done him, in his lands, goods, or reputation, shall have a remedy by
due course of law."  Tex. Const. art. I, § 13.  Although some case law has been interpreted to deem
commissioners courts subject to the "open courts" provision, the most often cited cases do not
expressly state that proposition.  See Rowan v. Pickett, 237 S.W.2d 734 (Tex. Civ. App.--San
Antonio 1951, no writ); Swaim v. Montgomery, 154 S.W.2d 695 (Tex. Civ. App.--Amarillo 1941,
writ ref'd w.o.m.); Tarrant County v. Smith, 81 S.W.2d 537 (Tex. Civ. App.--Fort Worth 1935, writ
ref'd).  Each of these cases held that commissioners cannot bind the county by their separate,
individual action.  Rowan, 237 S.W.2d at 738; Swain, 154 S.W.2d at 697; Smith, 81 S.W.2d at 538.

	Commissioners courts do not readily fit within the context of an article I, section 13
court.  Although commissioners courts do have the word "court" in their title, they do not perform
the same functions as the courts of the judiciary.  Article V, section 18 of the Texas Constitution
delegates the duties of commissioners courts:  "The county commissioners court . . . has none of the
functions of a court, but is the governing body of the county."  Tex. Const. art. V, § 18 interp.
commentary (West 1993).  Further, although the Texas Supreme Court has referred to Rowan, Swain, 
and Smith, the Court did not mention article I, section 13; instead, the Court decided the issues
before it under article V, section 18.  Canales v. Laughlin, 214 S.W.2d 451, 455 (Tex. 1948)
(commissioners court's order to create a new county office and hire a specific employee was
challenged and voided as outside commissioners court's statutory authority).  We hold that the "open
courts" provision of the Texas Constitution is not applicable to commissioners courts, and sustain
Hay County's second issue to the extent that the district court found that the county had violated the
Texas Constitution's "open courts" provision.

	Article V, section18 provides:


Each county shall, in the manner provided for justice of the peace and constable
precincts, be divided into four commissioners precincts in each of which there shall
be elected by qualified voters . . . .  The County Commissioners so chosen, with the
County Judge as presiding officer, shall compose the County Commissioners Court,
which shall exercise such powers and jurisdiction over all county business, as is
conferred by this Constitution and the laws of the State, or as hereafter prescribed.



Tex. Const. art. V, § 18(b).  Three members generally constitute a quorum for conducting county
business.  Tex. Loc. Gov't Code Ann. §&nbsp;81.006(a).

	The commissioners court may only validly act as a body; the acts of a single
commissioner do not bind the court.  Canales, 214 S.W.2d at 455 ("individual commissioners have
no authority to bind the county by their separate action"); Eastex Wildlife Conservation Ass'n v.
Jasper, 450 S.W.2d 904, 907 (Tex. Civ. App.--Beaumont 1970, writ ref'd n.r.e.) ("County can act
only through the Commissioners' Court, the individual Commissioners having no authority to bind
the county by their separate actions.").

	Other courts, while not explicitly citing article V, section 18, have also held that the
commissioners court may not be bound by the actions of one of its members:  "The Commissioner's
[sic] Court can act only as a body and when in an official meeting.  It is a court of record and speaks
through its official minutes.  No member of the court acting alone may bind the Court or the County. 
No member of the Court acting alone may determine the Court's intention in the matter of road
construction."  Maples, 259 S.W.2d at 268 (citing Gano, 8 S.W.2d at 635); see also Rowan, 237
S.W.2d at 737; Swaim, 154 S.W.2d at 697; Smith, 81 S.W.2d at 538.

	Although the law is clear that commissioners may not act on their own, it is not clear,
at least as a matter of procedure, that Commissioner Burnett was in fact "acting on his own" when
he instructed the staff member to change the map.  We do not believe it uncommon for staff to speak
with a commissioner for clarification in order to properly perform staff duties.  However, this Court
must determine whether Commissioner Burnett's instructions were sufficiently different from the
May 16 vote to effectuate the commissioner impermissibly "acting on his own."  In essence, this
question rests on whether Commissioner Burnett's instructions were a reasonable interpretation of
the commissioners court's will as expressed at the May 16 meeting and reflected in the minutes of
the meeting.  If so, this Court will read Commissioner Burnett's actions as merely instructing the
staff member as to what the commissioners court had approved in order to aid that staff member in
properly performing his task.  Again, we turn to the official minutes of the May 16 meeting to
determine whether that interpretation was reasonable.

	The May 16 minutes reflect that "Commissioner Carter spoke of it being clear that
we cannot go through the subdivision and we need to remove Ruby Ranch Road from the priority
matrix and let it remain a neighborhood road."  Commissioner Burnett "agreed that it does not make
sense to put a major highway through an existing subdivision."  He then made a motion to "adopt
the Blue Ribbon Committee's plan as proposed with the following changes:  that the Ruby Ranch
Road be eliminated as a major arterial status and be returned back to the original status . . .&nbsp;."  The
minutes and the various maps that were prepared through the process of forming the 2025
Transportation Plan make it clear that the commissioners court did not intend for Ruby Ranch Road
to be a major arterial thoroughfare.

	Hays County has asserted that when Commissioner Burnett proposed a vote that Ruby
Ranch Road be "returned to its original status," the motion meant that the Prime Strategies
description of that road would be substituted for that in the Blue Ribbon Committee's plan. 
However, we do not believe this to be a reasonable interpretation of the commissioners court's
action.  The "staff altered" map does resemble the Prime Strategies plan with regard to Ruby Ranch
Road, but the Prime Strategies description does not address the issues that were considered and voted
on at the May 16 meeting.

	The Prime Strategies map shows that Ruby Ranch Road will be widened to a four-lane road and will eventually connect to FM 150.  The "staff altered" map is identical to that of 
Prime Strategies except that the proposed number of lanes is not marked on the map adjacent to the
road.  Instead, the "staff altered" map, like the Blue Ribbon Committee's map, contains a legend
indicating that solid red lines demarcate "major arterial status."

	Whether intentional or inadvertent, the effect of Commissioner Burnett's changes
made Ruby Ranch Road a proposed major arterial with a later connection to FM 150.  The alterations
based upon the Commissioner Burnett interpretation of the commissioners court's May 16 action
differ from what the minutes reflect the commissioners actually approved.  Although it is arguable
that Commissioner Burnett was merely trying to execute the commissioners court's will as he
understood it from the May 16 meeting, and this Court has no reason to believe otherwise, his
interpretation was not that expressed in the meeting's minutes.  We hold that because the "staff
altered" map that Commissioner Burnett delivered to CAMPO is not an accurate interpretation of
the commissioners court's May 16 action, it is invalid and may not be utilized for any purpose.  See
Tex. Const. art. V, § 18; Tex. Loc. Gov't Code Ann.§ 81.006(a).

	Because the "staff altered" map is invalid, enjoining the county from its use is
unnecessary.  The UDJA allows for injunctive relief ancillary to a declaration of rights in some
situations:  "Further relief based on declaratory judgment or decree may be granted whenever
necessary or proper. . . ."  Tex. Civ. Prac. &amp; Rem. Code Ann. § 37.011.  This power to grant relief
is conditioned on such relief being necessary and proper.  See Leeper, 893 S.W.2d at 432 (upholding
declaratory judgment but reversing permanent injunction because injunction would serve no practical
purpose).  In this case, the Hays County Commissioners Court validly passed a new 2025
Transportation Plan at its May 30 meeting and filed it with CAMPO.  There is no indication that the
commissioners court intends to use the earlier invalid map.  We are confident that the commissioners
court will abide by our decision in carrying out its duties.  We conclude that the permanent
injunction is unnecessary and should be dissolved.  We overrule the remainder of Hays County's
second issue.


Attorney's Fees

	By its fifth issue, Hays County asserts that the district court erred in awarding the
Partnership attorney's fees.  The district court awarded attorney's fees to the Partnership under the
Open Meetings Act as well as the UDJA.  Tex. Gov't Code Ann. §§ 551.002, .102; Tex. Civ. Prac.
&amp; Rem. Code Ann. § 37.009.  Although this Court has held that the Open Meetings Act is
inapplicable to this case, the UDJA allows an award of attorney's fees at the district court's
discretion.  Tex. Civ. Prac. &amp; Rem. Code Ann. § 37.009 ("In any proceeding under this chapter, the
court may award costs and reasonable and necessary attorney's fees as are equitable and just.").  The
UDJA applies when a commissioners court is alleged to have taken an illegal action.  See Agan, 940
S.W.2d at 77. 

	The standard of review of a trial court's award of attorney's fees is abuse of
discretion.  Id. (citing Oake v. Collin County, 692 S.W.2d 454, 455 (Tex. 1985)).  The Texas
Supreme Court has elaborated on this standard:


[T]he Declaratory Judgments Act entrusts attorney fee awards to the trial court's
sound discretion, subject to the requirements that any fees awarded be reasonable and
necessary, which are matters of fact, and to the additional requirements that fees be
equitable and just, which are matters of law.  It is an abuse of discretion for a trial
court to rule arbitrarily, unreasonably, or without regard to guiding legal principles
. . . or to rule without supporting evidence . . . .



Bocquet v. Herring, 972 S.W.2d 19, 21 (Tex. 1998) (citations omitted).  The Partnership presented
sufficient evidence that their attorney's fees were necessary and reasonable.  We cannot say that the
May 30 commissioners court meeting and the delivery to CAMPO of the properly passed
transportation plan would have occurred without the Partnership's action.  We hold that the district
court did not abuse his discretion by awarding the Partnership attorney's fees.  Tex. Civ. Prac. &amp;
Rem. Code Ann. § 37.009.  We overrule Hays County's fifth issue. 


CONCLUSION


	We reverse the district court's judgment to the extent that it finds that Hays County
violated the Open Meetings Act and the Open Courts provision of the Texas Constitution and render
judgment that the Partnership take nothing against the county by such claims.  We dissolve the
injunction against the county.  In all other respects, we affirm the district-court judgment.



					                                                                                    

					Lee Yeakel, Justice

Before Justices Kidd, Yeakel and Patterson

Affirmed in Part; Reversed and Rendered in Part

Filed:   May 8, 2003
1.   The words "map" and "plan" are used interchangeably in this opinion.  The transportation
plan primarily consists of a map keyed to reflect the county's future roadway-expansion projections.
2.   This Court has also affirmed the Partnership's Open Meetings Act standing in a previous
dispute.  See Hays County Water Planning P'ship v. Hays County, 41 S.W.3d 174 (Tex.
App.--Austin 2001, pet. denied); see also Save Our Springs Alliance, Inc. v. Lowry, 934 S.W.2d 161
(Tex. App.--Austin 1996, orig. proceeding) (affirming standing for similarly situated citizens
group).


